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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



UNITED STATES OF AMERICA,                   )   CASE NO. 1: 01 CR 00408
                                            )
                     PLAINTIFF              )
                                            )
        v.                                  )   JUDGE PETER C. ECONOMUS
                                            )
NATHANIEL MCKINNEY                          )   MEMORANDUM OPINION
                                            )   AND ORDER
                     DEFENDANT              )
                                            )


        This matter is before the Court upon the Report and Recommendation of Magistrate

Judge James S. Gallas regarding the supervised released violation asserted against the

Defendant. See (Dkt. # 282). The case was referred to Magistrate Judge Gallas to conduct

revocation proceeding pursuant to FED. R. CRIM. P. 32.1 except sentencing. See (Dkt. #

282).

        On December 9, 2005, Magistrate Judge Gallas filed his report recommending that

the Court find the Defendant had violated the terms of his supervised release and proceed

with sentencing. See (Dkt. # 282 at 2). No objections were filed to the report.

        The Court has reviewed, de novo, the report and recommendation of the Magistrate

Judge. The Court found that the report and recommendation was well-supported and

without objection. Therefore, the Court ADOPTED Magistrate Judge Gallas’s report and

recommendation.
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       The Defendant appeared before the Court on January 11, 2006 for sentencing

represented by counsel Joseph Gardner. Assistant United States Attorney Linda H. Barr

appeared on behalf of the Government.

        The Court considered the advisory policy statements set forth in Chapter Seven of

the United States Sentencing Guidelines prior to imposing sentence. The Court further

considered the factors listed in 18 U.S.C. § 3553(a).

       The Court went on to determine that the appropriate advisory guideline revocation

range of imprisonment was eight to fourteen months for the Grade C violations to which

the Defendant admitted. U.S.S.G. § 7B1.4 (a). Additionally, the Court considered the

statements of the Defendant, his counsel, and the Assistant United States Attorney

regarding sentencing.

       Upon consideration therewith, the Court ordered that the Defendant’s term of

supervised released be CONTINUED and that he be released from custody.




       IT IS SO ORDERED.


                                          /s/ Peter C. Economus - January 11, 2006
                                          PETER C. ECONOMUS
                                          UNITED STATES DISTRICT JUDGE




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